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            COMPARISON OF LOAN NUMBERS IN
  PRIOR ACTIONS, UAMC 2016 ACTION AND EAGLE 2016 ACTION

   Loan Numbers in Prior      Loan Numbers in UAMC       Loan Numbers in Eagle
          Actions                   2016 Action               2016 Action
         32165128                    31994916                  32425829
         32303570                    32016834                  32941650
         32800120                    32023418                  33400193
         32851180                    32121295                  33561523
         32928749                    32002339                  32828980
         33081878                    32137135                  40632374
         33203159                    32123564                  33772575
                                     32150740
                                     32165326
                                     32169484
                                     32171571
                                     32175713
                                     32216038
                                     32394926
                                     32429300
                                     32445389
                                     32481988
                                     32564965
                                     32565731
                                     32566887
                                     32574311
                                     32620429
                                     32650699
                                     32660706
                                     32692840
                                     32731341
                                     32750838
                                     32761181
                                     32761330
                                     32766438
                                     32769085
                                     32800971
                                     32834798
                                     32865545
                                     32879819
                                     32932832
                                     32952491
                                     32960866
                                     32963316
                                     32979544
                                     33036914
                                     33041849
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            COMPARISON OF LOAN NUMBERS IN
  PRIOR ACTIONS, UAMC 2016 ACTION AND EAGLE 2016 ACTION

   Loan Numbers in Prior      Loan Numbers in UAMC       Loan Numbers in Eagle
         Actions                    2016 Action               2016 Action
                                     33081753
                                     33096900
                                     33151911
                                     33171661
                                     33176041
                                     33239377
                                     33287459
                                     33291063
                                     33298597
                                     33425448
                                     33425752
                                     33566340
                                     33575408
                                     33671553
                                     33682915
                                     33692070
                                     33705252
                                     40063158
                                     40069544
                                     40070047
                                     40090102
                                     40152308
                                     40205494
                                     40231474
                                     40232753
                                     40298648
                                     40304628
                                     40315160
                                     40509689
                                     40554974
                                     40555302
                                     40617441
                                     40641508




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